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11

12                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA,
13                                  SAN JOSE DIVISION

14
     FEDERAL TRADE COMMISSION,                  Case No. 5:17-cv-00220-LHK
15
                          Plaintiff,            BRIEF OF INDUSTRY ASSOCIATION
16                                              AMICI CURIAE IN SUPPORT OF
            v.                                  FTC’S MOTION FOR SUMMARY
17                                              JUDGMENT ON QUALCOMM’S
     QUALCOMM INCORPORATED, a Delaware          ESSENTIAL PATENT LICENSING
18   corporation,                               COMMITMENTS

19                        Defendant.            Date: February 21, 2019
                                                Time: 1:30 PM
20                                              Place: San Jose Courthouse, Courtroom 8
                                                Judge: Hon. Lucy Koh
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 1   I.       STATEMENT OF INTEREST
 2            Amici curiae (the “Industry Association Amici” or “Amici”) respectfully offer their
 3   thoughts and perspectives regarding the important issues presented in this adjudication of the
 4   Federal Trade Commission’s (“FTC”) claims against Qualcomm Incorporated (“Qualcomm”).
 5   For the avoidance of doubt, Amici address here only the specific legal issue of contractual
 6   interpretation presented in the FTC’s Motion For Partial Summary Judgment On Qualcomm’s
 7   Standard Essential Patent Licensing Commitments (Dkt. 792), not the ultimate merits of the
 8   FTC’s competition law claims.
 9            Amicus ACT | The App Association (“ACT”) is an industry organization comprising
10   more than 5,000 “app” (i.e., application) companies and information technology firms in the
11   mobile economy. It advocates for an environment that inspires and rewards innovation while
12   providing resources to help its members leverage their intellectual assets to raise capital, create
13   jobs, and continue innovating. Further information about ACT and its activities is available at
14   http://actonline.org. Because members of ACT rely on, utilize, and innovate on top of
15   standardized technologies, including technologies for wireless communication, it is deeply
16   interested in ensuring a fair, efficient ecosystem for technical standards. These issues impact
17   small business innovators during this critical time of development and deployment for new “Fifth
18   Generation” (5G) and “Internet of things” (IoT) technologies. In line with its members’ core
19   interests in this area, ACT has established an initiative known as “All Things FRAND.” As part
20   of this initiative, ACT maintains a comprehensive website and blog, accessible at
21   http://www.allthingsfrand.com, publishing information and perspectives affecting the industry.
22            Amicus Computer & Communications Industry Association (“CCIA”) is an international
23   nonprofit association representing a broad cross-section of computer, communications, and
24   Internet industry firms that collectively employ nearly one million workers and generate annual
25   revenues in excess of $540 billion. CCIA believes that open and competitive markets foster
26   innovation. CCIA’s members contribute to technical standards and create innovative products
27   that utilize those standards. CCIA believes that technical standards best foster innovation when

28   standard-essential patent licensing is conducted in a fair and well-understood manner compliant
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 1   with the terms of the patent policy selected by the standard-setting organization. Further
 2   information about CCIA, including a list of its members, is available at http://www.ccianet.org.
 3            As significant industry stakeholders with experience in FRAND, SEPs, and related
 4   competition law matters, the Industry Association Amici respectfully offer their perspective to the
 5   Court in evaluating the legal issues presented by the FTC’s Motion for Partial Summary
 6   Judgment. This brief is submitted on behalf of ACT and CCIA themselves; none of ACT’s or
 7   CCIA’s member or sponsors authored this brief in whole or in part, nor did any member or
 8   sponsor make a monetary contribution to ACT or CCIA intended to fund the preparation of this
 9   brief.
10   II.      PRELIMINARY STATEMENT
11            Amici create, use, and rely on robust standards for wireless communications. Our
12   signatories include trade associations representing businesses that collectively spend tens of
13   billions of dollars annually on R&D, own hundreds of thousands of patent assets, generate
14   hundreds of billions in annual revenue, and represent numerous vertical industries outside of
15   traditional telecommunications.
16            Some of Amici’s members participate in standards development organizations (SDOs),
17   such as the Alliance for Telecommunications Industry Solutions (ATIS) and the
18   Telecommunications Industry Association (TIA), working to develop innovative new standards,
19   contributing their patented technologies to those endeavors in the process. Some of Amici’s
20   members innovate “downstream,” using the capabilities provided by standardized communication
21   components purchased from chip and module companies. These downstream innovators add
22   value in novel ways, using standardized background communication capabilities in the process.
23   Some members participate at both levels. Amici represent many different industries, not just
24   traditional telecommunications, but also services, automotive, retail, manufacturing, and software.
25   While some of Amici’s members are large international companies, they also include a number of
26   small businesses – companies that utilize standardized communications and want to ensure that
27   their innovations will not be unfairly harmed by abuses relating to standard essential patents

28   (SEPs).
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 1             The Industry Association Amici here care deeply about wireless communication standards
 2   because they provide a baseline of functionality around which their members innovate, develop
 3   products, engage with customers, and create value for their industries and, ultimately, for
 4   consumers. The promise to license on fair, reasonable, and non-discriminatory (FRAND) terms
 5   protects our members’ interests as essential patent holders and their interests as users of
 6   standardized technologies. The FRAND promise is also designed to ensure that the value of
 7   standardization (e.g., the added value created by the industry’s agreement to design products in
 8   specific ways so that they remain interoperable) is not undermined by private interests.
 9             In that vein, Amici write to support the FTC’s position that the FRAND obligations set
10   forth in the ATIS and TIA licensing policies do not exclude some market participants, such as
11   “competing modem-chip sellers.”1 As at least four United States courts have noted, the FRAND
12   promise does not include such hidden exclusions and does not permit a party to refuse to license
13   some parties by virtue of their position “upstream” or “downstream” in the supply chain. Instead,
14   the FRAND promises made here mean what they say—i.e., that a FRAND promisor must license
15   to “all applicants” (the TIA contract) and to “applicants desiring to utilize the license for the
16   purpose of implementing the [relevant ATIS] standard” (the ATIS contract).
17   III.      BACKGROUND AND CONTEXT: WHY ENFORCEMENT OF THE FRAND
               PROMISE MATTERS TO AMICI
18

19             Amici’s interest in this topic is straightforward: in today’s economy, businesses
20   incorporate, use, and rely on wireless communications functionality in all sorts of ways, and it is
21   imperative to a healthy marketplace and to fair competition that licenses to those technologies
22   remain available on FRAND terms to all market participants.
23             In general, Amici’s members’ supply chains for wireless technologies begin with the
24

25   1
            For the avoidance of doubt, Amici take no position in this brief on the ultimate merits of the
26          FTC’s competition law claims in this action and understand that the FTC’s Motion expressly
            excludes such issues. Motion, at 1-2. Amici address solely the legal, contractual issue set
27          forth in the FTC’s motion regarding the “meaning of … FRAND commitments to TIA and
            ATIS.” Motion, at 3.
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 1   modem chip manufacturers, who make and sell the components enabling and embodying
 2   standardized functionality.2 In some cases, the chips supplied by those manufacturers may be
 3   incorporated directly into end-user devices, such as mobile handsets. But, in other situations or
 4   industries, those modem chips are combined with other components by so-called “module
 5   manufacturers” as part of standards-compliant circuit boards or as “embedded modules,”
 6   providing more of a “plug-and-play” approach. Such modules themselves may then be
 7   incorporated into an end device, such as a router or “Internet of Things” application, or may be
 8   further embedded into more complex assembled devices. For example, an automotive telematics
 9   system provides users with data access for traffic, internet connectivity, and other useful
10   applications. In turn, these more complex systems may then be further incorporated into an end
11   device, such as a car. And, finally, services or other industry users might deploy, integrate, or
12   build upon those end devices in various ways, such as a software company that develops
13   applications using mobile technologies or a warehouse or retail business that uses
14   telecommunication sensors to track inventory. Amici’s members include companies at these
15   various “upstream” (chip) and “downstream” (component, end product, software, and services)
16   supply chain “levels.”
17           Amici recognize and respect that “downstream” companies may, in some cases, seek to
18   obtain their own SEP license. There can be many reasons for this, such as a preference to
19   negotiate terms directly or to maintain an ability to use multiple suppliers regardless of their
20   individual license status.
21           But, in many cases, it can be more reasonable and practical for a downstream customer to
22   rely on its upstream component maker(s) to negotiate and obtain any necessary SEP licenses. For
23   example, the modem chip market is highly concentrated, with a small number of companies
24   comprising substantially all the output available to customers, so a few licenses among chip
25   competitors could negate the need for individual licenses to the tens of thousands (or more)
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     2
          See generally GPNE Corp. v. Apple, Inc., No. 12-CV- 02885-LHK, 2014 WL 1494247, at
27        *13 (N.D. Cal. Apr. 16, 2014) (holding “as a matter of law that in this case [where the
          asserted patents were claimed to be essential to 3G and 4G cellular standards], the baseband
28
          processor is the proper smallest salable patent-practicing unit”).
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 1   downstream companies that purchase and incorporate those modem chips and thereby reduce
 2   negotiation costs significantly. Likewise, suppliers that develop, manufacture, and sell the
 3   standardized components may be in the best position to evaluate patents covering those
 4   technologies and thus to negotiate regarding their validity, essentiality, and value. By contrast, a
 5   downstream company may have little or no expertise with the details of upstream wireless
 6   technologies and may therefore prefer to obtain fully-licensed components from their suppliers
 7   that design and manufacture those components.
 8           The FRAND promise made as part of participation in the TIA and ATIS standard-setting
 9   process allows for both of these scenarios by requiring the promisor to provide licenses to “all
10   applicants” and “applicants,” without distinguishing, limiting, or carving out applicants who
11   emerge from particular levels of the supply chain.
12           In other words, as customers (either direct or indirect) for telecommunications components,
13   including modem chips, and also as SEP owners (or with members who are such SEP owners) that have
14   committed to license patents on FRAND terms, Amici support FRAND’s clear obligation to license an
15   implementer that seeks a license – regardless of that licensee’s position in the supply chain. We have
16   previously addressed these concerns, as have more than 50 industry leaders and more than 70 academic
17   and thought leaders to the United States Department of Justice3 and to the FTC.4 In short, an SEP-
18
     3
19        See Multi-Association Letter to AAG Delrahim (letter from six trade associations representing
          more than $3 trillion in GDP, noting that FRAND commitment entails that license is available
20        to any implementer), available at http://www.ccianet.org/wp-content/uploads/2018/05/Multi-
          Assn-DOJ-White-Paper-053018.pdf; Industry Letter to AAG Delrahim Regarding Standards,
21        Innovation and Licensing (letter from fifty-eight companies, academics, and SMEs noting that
          enforcement of obligation to license is an expected consequence of FRAND promise),
22
          available at http://www.ccianet.org/wp-content/uploads/2018/01/Industry-Letter-to-DOJ-
23        AAG.pdf; Academic and Former Regulator Letter to AAG Delrahim Regarding Speeches on
          Patents and Holdup (letter from seventy-seven academics and former United States agency
24        personnel, explaining that the “holder of a standard essential patent voluntarily chooses to
          license on a FRAND basis, receiving in exchange the SSO’s ‘seal of approval’ and the
25        potential for significantly increased volume that comes with that seal, which is well worth the
          FRAND promise”), available at https://www.competitionpolicyinternational.com/wp-
26
          content/uploads/2018/05/DOJ-patent-holdup-letter.pdf.
27   4
          See Comments of Cross-Sectoral Multi-Association Group to FTC (public comments from
          letter from six trade associations representing more than $3 trillion in GDP, noting that
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 1   holder’s legitimate interest in obtaining FRAND compensation for its SEPs (an interest Amici recognize
 2   and support) can faithfully be upheld regardless of the identity of the licensee or its place in the supply
 3   chain. Indeed, any other reading would be inconsistent with the plain language of the FRAND promises
 4   at issue here.
 5   IV.      NEITHER THE TIA NOR THE ATIS IPR POLICY IS SUSCEPTIBLE TO AN
              INTERPRETATION PERMITTING REFUSALS TO LICENSE
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 7            Turning to the plain language of the TIA and ATIS IPR policies, we concur with the
 8   FTC’s view that those policies do not admit of any interpretation limiting the benefit of the
 9   FRAND licensing obligation to only some companies and not others.
10            For SDO participants that have submitted a FRAND undertaking, the requirements are
11   clearly articulated at both organizations:
12                   TIA requires that FRAND licenses are available to “all applicants.”5 To provide
                      even greater clarity that refusals to license “competing modem-chip sellers” are
13                    prohibited, the TIA IPR Guidelines expressly note that “[a]n example of conduct
                      that would constitute discrimination is a willingness to license all applicants except
14                    for competitors of the licensor.”6
15                   The ATIS IPR Policy similarly requires that licenses are available to “applicants
                      desiring to utilize the standard,”7 without any restrictions on the level of the supply
16                    chain in which such utilization occurs.
17   Amici agree that this language is clear and not susceptible to an interpretation that would permit
18   exclusion of “competing modem-chip makers” from the benefit of the FRAND promise. A
19   contrary read would, in effect, seek to contradict the text of the IPR policies by cropping in words
20   and limitations that are simply not present. California law does not permit a reading that
21   contradicts the express language of a contract.8 The TIA and ATIS policies, on their faces,
22
           FRAND commitment entails that license is available to any implementer), available at
23         https://www.ftc.gov/policy/public-comments/2018/08/20/comment-ftc-2018-0055-d-0031.
24   5
           FTC Motion, Ex. 1 (the “TIA IPR Policy”) at ¶ 3.1.1(2)(b).
     6
25         FTC Motion, Ex. 30 (the “TIA IPR Guidelines”) at ¶ 5 (emphasis added).
     7
           FTC Motion, Ex. 2 (the “ATIS IPR Policy”) at ¶ 10.4.2
26
     8
           Parol evidence cannot be admitted to contradict the plain language of an agreement. See, e.g.,
27         Vons Cos. v. U.S. Fire Ins. Co., 78 Cal. App. 4th 52, 58-59 (2000) (“Our function is to
           determine what, in terms and substance, is contained in the contract, not to insert what has
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 1   simply do not permit an interpretation limiting the beneficiaries of the licensing promise to
 2   “some” applicants, but not others.9
 3            This common-sense interpretation of the FRAND promise – i.e., an interpretation that
 4   does not seek to impose hidden, unstated restrictions – is well supported in the applicable
 5   FRAND case law. As the Ninth Circuit has explained across multiple cases:
 6                    “To mitigate the risk that a SEP holder will extract more than the fair value of its
                       patented technology, many SSOs require SEP holders to agree to license their
 7                     patents on ‘reasonable and non-discriminatory’ or ‘RAND’ terms. Under these
                       agreements, an SEP holder cannot refuse a license to a manufacturer who
 8                     commits to paying the RAND rate.”10
 9                    A FRAND obligation includes a “requirement to negotiate licenses with all
                       seekers.”11
10
                      A FRAND promise to “grant a license to an unrestricted number of applicants on
11                     a worldwide, non-discriminatory basis and on reasonable terms and conditions to
                       use the patented material necessary … admits of no limitations as to who or how
12

13
           been omitted. We do not have the power to create for the parties a contract that they did not
14
           make and cannot insert language that one party now wishes were there.”); Kerkeles v. City of
15         San Jose, 243 Cal. App. 4th 88, 99 (2015) (“We may not add terms reflecting an
           understanding that is not evident in the plain language of the parties’ contract.”) (citing Apra
16         v. Aureguy, 361 P.2d 897, 899 (Cal. 1961)).
     9
17         There are many California cases, in a range of different contexts, illustrating this general
           principle. For example, under California law, a contract providing for termination “at any
18         time and for any reason” cannot have conditions added limiting the termination right to “any
           good reason.” Gerdlund v. Elec. Dispensers Int’l, 190 Cal. App. 3d 263, 273-74 (1987)
19         (emphasis added). Likewise, a contract specifying benefits to an employee’s “children”
           cannot reasonably be interpreted to exclude some of the employee’s children (i.e., the
20
           illegitimate ones). Turner v. Met. Life Ins. Co., 56 Cal. App. 2d 862, 869 (1943) (where
21         “there are no words of limitation or restriction used” in the contract, “children” must be
           interpreted to include all of the insured’s children, including illegitimate children). The
22         California Court of Appeals has also held, in the insurance context, that “an insured” means
           “any insured under the policy.” Nat’l Union Fire Ins. Co. v. Lynette C., 228 Cal. App. 3d
23         1073, 1079 (1991). Similarly, a clause providing that both “Tenant and Landlord” have a
           right to terminate an agreement could not be construed to mean that only the tenant had a
24
           termination right. Thrifty Payless, Inc. v. Mariners Miles Gateway, LLC, 185 Cal. App. 4th
25         1050, 1060-61 (2010). Likewise here, it would frustrate and contradict the language of the
           TIA IPR Policy and the ATIS IPR Policy to construe “applicants desiring to utilize the
26         standard” or “all applicants” to mean “only some applicants.”
     10
27         Microsoft Corp. v. Motorola, Inc., 795 F. 3d 1024, 1031 (9th Cir. 2015) (emphasis added).
     11
           Id. (emphasis added).
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 1                    many applicants could receive a license .…”12
 2   The Federal Circuit has likewise noted, in addressing the application of Georgia Pacific factors in
 3   the context of SEPs:
 4                   “[T]he licensor’s established policy and marketing program to maintain
                     his patent monopoly by not licensing others to use the invention [is not
 5                   relevant for SEPs]. [...] Because of [the] RAND commitment [...] it
                     cannot have that kind of policy for maintaining a patent monopoly.”13
 6

 7   And, more recently, addressing the ETSI licensing obligation that a SEP holder “be prepared to
 8   grant irrevocable licenses,” Judge Curiel noted that such language “plainly states that any willing
 9   licensee is entitled to license Qualcomm’s intellectual property at a FRAND rate.”14
10
     12
          Microsoft Corp. v. Motorola, Inc., 696 F.3d 872, 884 (9th Cir. 2012) (emphasis added). As
11        the FTC motion notes (p.18), the Microsoft court was evaluating SDO language quite similar
          to the TIA policy. But the TIA IPR policy, as reflected in Exhibit 1 to the FTC motion, is
12        even more express that “all applicants” (¶ 3.1.1(2)(b)) are entitled to a license than was the
13        SDO policy addressed in Microsoft.
     13
          Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1230 (Fed. Cir. 2014) (emphasis added).
14
     14
          Order Denying Anti-Suit Injunction, Apple Inc. v. Qualcomm, Inc., Case No. 3:17-cv-00108-
15        GPC-MDD (N.D. Cal Sept. 7, 2017), ECF No. 141, available at
          https://cases.justia.com/federal/district-
16        courts/california/casdce/3:2017cv00108/522828/141/0.pdf?ts=1504946165. A number of
17        foreign authorities have held to the same effect. In Europe, for example, the competition
          authorities have noted that the FRAND obligation entails a requirement not to refuse licenses.
18        See, e.g., European Commission, Case AT.39985 - Motorola - Enforcement of GPRS
          Standard Essential Patents, European Commission ¶ 294 (April 29, 2014), available at
19        http://ec.europa.eu/competition/antitrust/cases/dec_docs/39985/39985_928_16.pdf (“On the
          basis of that [FRAND] commitment, manufacturers of GPRS-compliant products can
20        reasonably expect that Motorola makes its SEPs available on FRAND terms and conditions to
21        all implementers.”) (emphasis added); European Commission, Communication from the
          Commission – Guidelines on the applicability of Article 101 of the Treaty on the Functioning
22        of the European Union to horizontal co-operation agreements, ¶¶ 285-287, available at
          https://eur-lex.europa.eu/legal-
23        content/EN/TXT/PDF/?uri=CELEX:52011XC0114(04)&from=EN (“In order to ensure
          effective access to the standard, the IPR policy would need to require participants wishing to
24        have their IPR included in the standard to provide an irrevocable commitment in writing to
25        offer to license their essential IPR to all third parties on fair, reasonable and non-
          discriminatory terms. [...] FRAND commitments can prevent IPR holders from making the
26        implementation of a standard difficult by refusing to license ... after the industry has been
          locked-in to the standard.”) (emphasis added). Likewise, in Korea, the competition
27        authorities have concluded that FRAND requires that “access to and use of cellular SEPs
          should be guaranteed for the modem chipset manufacturers in accordance with the purposes
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 1           As in the Microsoft, Ericsson, and Apple matters, which addressed FRAND promises
 2   similar to – and in some cases, even less explicit than – the TIA and ATIS language under
 3   consideration here, the court should not interpret the TIA IPR Policy or the ATIS IPR Policy to
 4   include unstated limitations excluding some types of companies from its purview.15 The
 5   obligation to license third parties, including “competing modem-chip manufacturers,” is the plain
 6   and unambiguous consequence of the defendant’s FRAND promises.16
 7   V.      CONCLUSION
 8           The texts of the TIA IPR Policy and of the ATIS IPR Policy are clear, as is the applicable
 9

10        of standard-setting and FRAND commitments.” See Korea Fair Trade Commission, Decision
          No. 2017-0-25, In re Alleged Abuse of Market Dominance of Qualcomm Inc., ¶ 235 (Jan. 20,
11        2017), available at http://www.theamericanconsumer.org/wp-content/uploads/2017/03/2017-
          01-20_KFTC-Decision_2017-0-25.pdf.
12
     15
          Because the language of the TIA IPR Policy and the ATIS IPR Policy is clear, there is no
13        need to consider parol evidence. AIU Ins. Co. v. Superior Court, 51 Cal. 3d 807, 822 (1990).
          It would be misplaced here, moreover, to look to some companies’ course of conduct in
14        seeking to license OEM-level companies to prove the intent of the TIA and ATIS standards,
15        since there is a disconnect between those two situations. Whether some companies have, at
          least in more recent years, chosen to focus their licensing programs at the OEM level does not
16        establish that a FRAND promisor does not need to license to a modem-chip competitor when
          such a competitor requests a FRAND license; it establishes only that the promisor falls short
17        of its obligations to competitors under its FRAND promises if it refuses to license them as
          previously promised.
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          While this matter can be decided as a matter of law based on the IPR Policy text as submitted
19        by the FTC, Amici note that the defendant itself has previously espoused this same view in its
          own attested court filings, including claiming breach of FRAND based on a competing chip
20        competitor’s refusal to license Qualcomm. See, e.g., Qualcomm’s Counterclaims and
21        Affirmative Defense, ¶¶ 25, 56, 61, 77, No. 05-3350 (MLC) (JJH) (D.N.J. Feb. 29, 2008) ECF
          No. 139 (“Qualcomm, which owns a large portion of the intellectual property covering
22        CDMA technology, operates a pro-competitive licensing model, in which it offers licenses on
          fair, reasonable and non-discriminatory terms to any interested company.”; “Qualcomm has
23        repeatedly offered [a competing chip manufacturer] license terms for Qualcomm’s UMTS
          patents that comply with FRAND and are at least as favorable as the terms Qualcomm has
24        offered to other chipset licensees.”) (emphasis added); Qualcomm Opp. to Broadcom Motion
25        to Dismiss, Strike or Summary Judgment, No. SACV05-0467-JVS (RNBx) (C.D. Cal. Jan.
          20, 2009), ECF No. 1606 (asserting violation of FRAND based on competing chipset
26        manufacturer’s refusal to license Qualcomm). Indeed, in connection with prior litigation, the
          defendant’s current President (then Vice President) publicly stated: “Saying [Qualcomm]
27        refuse[s] to license competitors is like saying McDonald’s refuses to sell hamburgers [...] It’s
          nuts. It’s crazy.” See Gittlesohn, J., Battle of Tech Heavyweights, Orange County Register
28
          (5/1/07) Orange County (Cal.) Reg. 1 2007 WLNR 30244838.
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 1   precedent addressing similar FRAND undertakings, that the promise to license on FRAND terms
 2   is not restricted to some market participants, and exclusive of “competing modem-chip
 3   manufacturers.” A clear and direct promise to license on FRAND terms, without restrictions,
 4   cannot reasonably be interpreted to include hidden, unstated limitations. Amici thanks the Court
 5   for its consideration of its views and perspectives.
 6
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